            Case:17-04837-swd             Doc #:39 Filed: 08/17/18            Page 1 of 2



                            UNITED	STATES	BANKRUPTCY	COURT	
                             WESTERN	DISTRICT	OF	MICHIGAN	
                                             	
    	                                      	      	
    IN	RE:		                               	      HON.	SCOTT	W.	DALES	
    	                                      	      	
    April	Thomas,	                                Case	No.	17-04837-swd	
    	
                                    Debtor(s).	 	              Chapter	13	
    	                                           	              	
	
        RESPONSE	TO	TRUSTEE’S	REQUEST	FOR	TEXT	ORDER	DISMISSING	CASE	
          On	July	2,	2018,	the	Chapter	13	Trustee	in	this	Case	filed	a	Motion	to	Dismiss	for	
failure	to	turn	over	2017	income	tax	returns	and	refunds.	On	August	16,	2018,	the	Chapter	
13	Trustee	filed	a	Certificate	of	No	Response	or	Objection,	and	requested	the	entry	of	a	text	
order	 dismissing	 the	 case.	 The	 Debtor	 responds	 to	 the	 Trustee’s	 Motion	 to	 Dismiss,	 and	
requests	that	the	case	not	be	dismissed	for	the	following	reasons:	
            1. The	Debtor	is	a	single	mother	of	two,	who	earns	approximately	$16,000/year.	
            	
            2. The	 Debtor	 filed	 this	 case	 to	 prevent	 foreclosure,	 and	 is	 working	 two	 jobs	 to	
              make	her	Chapter	13	plan	payments,	which	are	regularly	paid	through	payroll	
              deduction.	
            3. The	 Debtor	 acknowledges	 that	 the	 requirement	 to	 turn	 over	 tax	 refunds	 in	
              excess	 of	 $3,600.00	 is	 a	 requirement	 of	 her	 Chapter	 13	 plan	 that	 was	 clearly	
              communicated	by	the	Trustee	and	counsel.	
            4. Throughout	the	month	of	July,	the	Debtor	attempted	on	at	least	two	occasions	to	
              fax	copies	of	her	federal	and	state	returns	to	counsel,	however,	such	attempts	
              were	unsuccessful	(as	the	fax	messages	were	not	received	by	counsel).	
            5. The	Debtor	used	funds	in	excess	of	$3,600.00	for	necessary	expenses,	including	
              but	not	limited	to	the	purchase	of	an	inexpensive	used	vehicle	for	transportation	
              to	and	from	work,	and	for	auto	and	home	repairs.	
            6. The	Debtor,	through	counsel,	has	now	provided	returns	to	the	Trustee,	through	
              the	Trustee’s	documents	system.	
            7. The	 Debtor,	 through	 counsel,	 will	 request	 to	 retain	 refunds	 in	 excess	 of	
              $3,600.00,	 by	 and	 through	 the	 Trustee’s	 usual	 process,	 and	 if	 this	 case	 is	 not	
              dismissed,	 expects	 that	 the	 Trustee	 will	 agree	 that	 the	 refunds	 were	 used	 for	
              necessary	expenses.		
            8. The	Debtor	understands	her	responsibility	to	promptly	provide	the	Trustee	with	
             Case:17-04837-swd         Doc #:39 Filed: 08/17/18           Page 2 of 2



              required	 documents,	 and	 assures	 the	 court	 that	 she	 will	 fully	 abide	 by	 her	
              responsibilities	going	forward.	
            9. The	Debtor	has	updated	her	contact	information	with	counsel,	and	will	keep	the	
              same	updated.		
	
	
                                                      Respectfully	submitted,	
	
	

    Dated:	August	17,	2018	                          By:	/s/	Kimberly	L.	Savage
                                                           	                          		
                                                         Kimberly	L.	Savage	(P68267)	
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